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                                                                   December 21, 2020

VIA ECF

Hon. Richard M. Berman
U.S. District Judge
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

            Re:         United States v. Owens, et al., 18 Cr. 693 (RMB)

Dear Judge Berman:

I write on behalf of Defendant Harald Joachim von der Goltz to request that the Court adjourn
Mr. von der Goltz’s reporting date, now set for January 4, 2021, for another 60 days. The
government does not oppose this request.

When Mr. von der Goltz asked the Court to adjourn his reporting date in November, he predicted
that the COVID-19 surge in the United States would worsen, including in FMC-Devens and
other Bureau of Prisons facilities, and that one or more vaccines would soon be approved by the
FDA. Each of these predictions has proved to be accurate. The country is in the midst of its
third, and by far most severe, wave of infections. Each week seems to bring a grim new
milestone, with about 1.5 million new cases being diagnosed and 18,000 deaths last week alone.1
And the virus has surged in BOP facilities, including FMC-Devens. Whereas at the time of Mr.
von der Goltz’s last request for a reporting delay there were no active cases reported among
inmates at Devens, the facility is currently reporting 89 active cases among inmates, well over
10% of the total population of the prison. FMC-Devens has suspended all visitation, apparently
as a result of the outbreak.

Meanwhile, in the last two weeks the FDA has approved two different vaccines, and vulnerable
individuals across the country have already begun to get vaccinated. According to press reports
the BOP has no current timeline for vaccinating inmates.2 If he is not incarcerated, however, Mr.


1
  “U.S. sees record COVID-19 cases as CDC advisory group votes to recommend Moderna
vaccine,” https://www.cnn.com/2020/12/19/health/us-coronavirus-saturday/index.html.
2
  See Michael Balsamo and Michael R. Sisak, Federal Prisons to prioritize staff to receive virus
vaccine, Associated Press (Nov. 23, 2020) (“The federal prison system will be among the first
government agencies to receive the coronavirus vaccine, though initial allotments of the vaccine

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von der Goltz should be among the early recipients of a vaccine through Massachusetts state
resources based on his age and co-morbidities.3 In addition, Mr. von der Goltz and his doctors
are actively trying to expedite the process. See Letter from Dr. Marcelo Montorzi, attached as
Exhibit A. Because Mr. von der Goltz is at “very high risk of severe illness and death” if he
contracts COVID-19, id., it would be extremely dangerous for him to report unvaccinated to a
prison where the virus is raging and getting worse by the day.

For the foregoing reasons, Mr. von der Goltz respectfully requests that the Court adjourn his
reporting date for 60 days.

                                             Respectfully submitted,

                                             /s/ Aitan D. Goelman

                                             Aitan D. Goelman
cc: all counsel of record (by ECF)




will be given to staff and not to inmates, even though sickened prisoners vastly outnumber
sickened staff, according to documents obtained by The Associated Press.”); Christine Carrega,
Some federal prison employees will receive the Covid vaccine Wednesday, spokesperson says,
CNN (Dec. 14, 2020) (although some BOP staff will receive vaccines on December 16, a BOP
spokesman stated that “A plan has been developed to offer the Vaccine to the inmate population
when additional doses are available. However, the BOP does not determine when doses will be
made available to inmates. [Operation Warp Speed] will do that.”).
3
  According to plans released by Massachusetts governor’s office, vaccinations will be
administered between February and April 2021 to individuals who meet the following criteria, in
order of priority:
     Individuals with 2+ comorbidities (high risk for COVID-19 complications);
     Early education, K-12, transit, grocery, utility, food and agriculture, sanitation, public
        works and public health workers;
     Adults 65+; and
     Individuals with one comorbidity
See Baker-Polito Administration Announces Initial Steps for COVID-19 Vaccine Distribution
(Dec. 9, 2020).



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